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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 JESS KRUCHOSKI,                                   CIVIL ACTION NO.
                                                   1:17-CV-00577-LMM
        Plaintiff.

 v.

 MIMEDX GROUP, INC. and PARKER
 H. “PETE” PETIT,

        Defendants.



      MOTION FOR PERMISSION TO WITHDRAW AS COUNSEL FOR
                   PLAINTIFF JESS KRUCHOSKI
       Clayton D. Halunen, Mack H. Reed, Stephen M. Premo, Kaarin S. Nelson

Schaffer, Christopher J. Moreland, and the law firm of Halunen Law (collectively,

“Halunen Law” or “Counsel”), pursuant to Rule 83.1E of the Civil Local Rules of

Practice for the United States District Court for the Northern District of Georgia,

and for their Motion to Withdraw as Counsel for Plaintiff Jess Kruchoski

(“Kruchoski”), respectfully state as follows:

       1.    Counsel expressed its intent and desire to withdraw to Kruchoski on

April 10, 2017 by personally serving a copy of their Notice of Intent to Withdraw

on him at his home address. (Ex. A).
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       2.     As reflected in the attached Notice, Counsel has made the required

disclosures to Kruchoski under Northern District of Georgia Local Rule 83.1E.

       3.     On Friday, April 21, 2017, Kruchoski’s local counsel informed

Halunen Law that it had obtained the consent of Kruchoski to withdraw and would

file its consent motion to withdraw that same day.

       4.     In light of local counsel’s withdrawal, Counsel respectfully request

the Court waive Local Rule 83.1B(2)’s requirement that designated local counsel

sign this filing.

       5.     As of the date written below, Kruchoski has not consented to

Counsel’s withdrawal.

       WHEREFORE, Counsel respectfully requests that the Court allow them to

withdraw as Attorneys of Record for Kruchoski in this action.




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April 25, 2017                      Respectfully submitted,

                                    HALUNEN LAW

                                    /s/ Stephen M. Premo
                                    Clayton D. Halunen (pro hac vice)
                                    MN Bar No. 219721
                                    Mack H. Reed (pro hac vice)
                                    MN Bar No. 398703
                                    Stephen M. Premo (pro hac vice
                                    MN Bar No. 393346
                                    Christopher J. Moreland (pro hac vice)
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                                    COUNSEL FOR PLAINTIFF




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                  CERTIFICATE OF SERVICE AND
               COMPLIANCE WITH FONT SIZE AND TYPE

      I hereby certify that the foregoing was prepared with Times New Roman

font in 14-point size, as approved by the Court in N.D. Ga. Local Rule 5.1(c).

      I further certify that on April 25, 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system causing a true and correct copy

of the same to be served upon opposing counsel:

                               Joseph D. Wargo
                              Shanon J. McGinnis
                           WARGO & FRENCH, LLP
                           jwargo@wargofrench.com
                          smcginnis@wargofrench.com

      Respectfully submitted this 25th day of April, 2017.

                                             /s/ Stephen M. Premo
                                             Stephen M. Premo (pro hac vice)
                                             MN Bar No. 393346




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